      Case 21-12256-JDW                       Doc 46       Filed 05/08/24 Entered 05/08/24 13:17:27                                Desc Main
 Fill in this information to identify the case:           Document      Page 1 of 8
 Debtor 1                Tonya Simpson
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                             Northern District of Mississippi
 United States Bankruptcy Court for the: ____________________________________
                                          ______________________   District of __________
                                                                             (State)
 Case number             21-12256
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                            12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: USDA
                   _______________________________________
                         - Rural Housing Service                                         Court claim no. (if known): _____________________
                   Customer Service Center
 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                            9 ____
                                                         ____  7 ____
                                                                   2 ____
                                                                       3                 Must be at least 21 days after date          0610/2024
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                                385.86
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                      89.16
                   Current escrow payment: $ _______________                           New escrow payment:                    98.48
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      
      ✔ No
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      
      ✔ No
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                                                      376.54
                   Current mortgage payment: $ _______________                                                         385.86
                                                                                       New mortgage payment: $ _______________
   Case 21-12256-JDW                   Doc 46             Filed 05/08/24 Entered 05/08/24 13:17:27                        Desc Main
                                                         Document      Page 2 of 8




Part 4:        Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

    
    ✔ I am the creditor.
     I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.



_____________________________________________________________
  /s/ Delonda Davis
   Signature
                                                                                    Date       04/30/2024
                                                                                            ____/_____/________




Print:           Delonda Davis
                 _________________________________________________________          Title   Bankruptcy Specialist
                                                                                            ___________________________
                 First Name                Middle Name       Last Name



Company          USDA - Rural Housing Service
                 _________________________________________________________
                 Customer Service Center

Address          PO Box 66879
                 _________________________________________________________
                 Number           Street

                 St. Louis, MO 63166
                 ___________________________________________________
                 City                                        State       ZIP Code



Contact phone    (800) 349-5097
                 (______)        ext. 5387
                          _____– _________                                                csc.bkr@stl.usda.gov
                                                                                    Email ________________________
      Case 21-12256-JDW           Doc 46      Filed 05/08/24 Entered 05/08/24 13:17:27                         Desc Main
                                             Document      Page 3 of 8

                                     IN THE UNITED STATES BANKRUPTCY COURT
                                         Northern District of Mississippi
                                             PAYMENT CHANGE SUMMARY
 Completed By: Delonda Davis                                  5387          <<<Enter Ext No.                           04/30/2024
                                                                                                                         (Date)


 Debtor(s) & Tonya Simpson                                            Case No.                 21-12256
   Address:                                                          Claim No.
              160 CR 553                                          USDA Acct No.           9     7    2     3
              Ripley, MS 38663




 Attorney & Robert Hudson Lomenick, Jr.                               Trustee & Todd S. Johns
    Address: P.O. Box 417                                               Address: Todd S. Johns, Chapter 13 Trustee
               Holly Springs, MS 38635                                              PO BOX 1326
                                                                                    Brandon, MS 39043




Effective      0610/2024     , the monthly ongoing payment is changing due to:

 No         Yes ✔ ESCROW:
 No ✔ Yes        OTHER:                                                   <-- Select Subsidy Granted or Expired or Ineligible
                                                                            <-- Select if the account has been reamortized
                                                                            or there's a change in amortized fees.


                                                PAYMENT CALCULATION

                              Current Payment                                              New Payment

   Principal & Interest                  287.38            Principal & Interest                       287.38
   Less Subsidy                                            Less Subsidy
   Total P&I Payment                     287.38            Total P&I Payment                          287.38



   Escrow                                 89.16            Escrow                                        92.45
   Escrow shortage                                         Escrow shortage                                6.03
   Total Escrow                           89.16            Total Escrow                                  98.48


   Fees                                                    Fees

   Total Payment                         376.54            Total Payment                              385.86




              Reset                                 Save As...                                                 Print
Case 21-12256-JDW       Doc 46      Filed 05/08/24 Entered 05/08/24 13:17:27 Desc Main
                                 Northern District ofPage
                                   Document                4 of 8
                                                      Mississippi           Case No. 21-12256
                                                                                Claim No.


                                 CERTIFICATE OF SERVICE

I, Delonda Davis , do hereby certify that on 04/30/2024 , I served copies of the Notice of Mortgage
Final CureChange,
Payment    Payment to the following participants by the United States Postal Service, postage
prepaid, and/or by CM/ECF as indicated:


By U.S. Mail, postage prepaid:
                                 Tonya Simpson

Debtor(s)
                                 160 CR 553
                                 Ripley, MS 38663




Via CM/ECF:

Debtor’s Attorney of Record:     Robert Hudson Lomenick, Jr.
                                 P.O. Box 417
                                 Holly Springs, MS 38635




Chapter 13 Trustee:              Todd S. Johns
                                 Todd S. Johns, Chapter 13 Trustee
                                 PO BOX 1326
                                 Brandon, MS 39043




Date: 04/30/2024                      /s/ Delonda Davis
                                      Delonda Davis
                                     Bankruptcy Specialist
                                     USDA, Rural Housing Service
                                     1-800-349-5097 ext. 5387




                                                 “
Case 21-12256-JDW   Doc 46    Filed 05/08/24 Entered 05/08/24 13:17:27   Desc Main
                             Document      Page 5 of 8
Case 21-12256-JDW   Doc 46    Filed 05/08/24 Entered 05/08/24 13:17:27   Desc Main
                             Document      Page 6 of 8
Case 21-12256-JDW   Doc 46    Filed 05/08/24 Entered 05/08/24 13:17:27   Desc Main
                             Document      Page 7 of 8
Case 21-12256-JDW   Doc 46    Filed 05/08/24 Entered 05/08/24 13:17:27   Desc Main
                             Document      Page 8 of 8
